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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                             CENTRAL DIVISION

GARY HOLMES                                                                     PLAINTIFF
ADC #127662

v.                           CASE NO. 4:20-CV-00878-BSM

KARA BELUE, et al.                                                           DEFENDANTS

                                          ORDER

       After careful review of the record, United States Magistrate Judge Joe Volpe’s

proposed findings and recommendations [Doc. No. 5] are adopted. This case is dismissed

without prejudice because Gary Holmes failed to state a claim upon which relief could be

granted. The dismissal constitutes a strike for purposes of 28 U.S.C. section 1915(g) and,

pursuant to 28 U.S.C. section 1915(a)(3), it is certified that an in forma pauperis appeal from

this order would not be taken in good faith.

       IT IS SO ORDERED, this 19th day of October, 2020.


                                                    ________________________________
                                                    UNITED STATES DISTRICT JUDGE
